 

UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

FEDERAL TRADE COMMISSION, and

STATE OF MINNESOTA, by its Attorney
General, Lori Swanson,

Plaintiffs,
V.

SELLERS PLAYBOOK, INC., a
corporation,

EXPOSURE MARKETING COMPANY,
a corporation, also d/b/a Sellers Online and
Sellers Systems,

JESSIE CONNERS TIEVA, individually
and as an officer of SELLERS
PLAYBOOK, INC. and EXPOSURE
MARKETING COMPANY, and

MATTHEW R. TIEVA, individually and
as an officer of SELLERS PLAYBOOK,
INC. and EXPOSURE MARKETING
COMPANY,

Defendants.

 

 

CASE NO.

FILED UNDER SEAL
PLAINTIFFS FEDERAL
TRADE COMMISSION’S
AND STATE OF
MINNESOTA’S EXHIBITS
VOLUME XII

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FTC-SP-002598 - FTC-SP-002879

JUL 30 2018

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PLAINTIFF’S
EXHIBIT 55

FTC-SP-002598

 
Form W-9

(Rev, December 2014)

Department of the Treasury
Internal Revenue Service

Exposure Marketing Company
2 Business name/disregarded entity name, if different from above

Request for Taxpayer
Identification Number and Certification

 

) oD) 1 ew

Give Form to the
requester. Do not
send to the IRS.

1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.

 

oO Individual/sole proprietor or C Corporation

single-member LLC

the tax classification of the single-member owner.
Oo Other (see instructions) >

3 Check appropriate box for federal tax classification; check only one of the following seven boxes:
(1 scorporation [CJ Partnership

oO Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=partnership) >
Note. For a single-member LLC that is disregarded, do not check LLC; check the appropriate box in the line above for_| Exemption from FATCA reporting

4 Exemptions (codes apply only to
certain entities, not individuals; see
instructions on page 3);

Exempt payee code {if any)

C1 trustestate

code (if any)
(Apptes to accounts meinteined outside the U.S.)

 

 

5 Address (number, street, and apt. or suite no.)
5290 Black Oaks Lane North

Requester's name and address (optional)

 

6 City, state, and ZIP code
Plymouth, MN 55446

Print or type
See Specific Instructions on page 2.

 

 

7 List account number(s) here (optional)

 

 

Gay Taxpayer Identification Number (TIN)

 

Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid

backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the Part | instructions on page 3. For other - -
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a

TIN on page 3.

Note. If the account is in more than one name, see the instructions for line 1 and the chart on page 4 for

guidelines on whose number to enter.

Social security number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Certification

Under penalties of perjury, | certify that:

1. The number shown on this form is my correct taxpayer identification number (or | am waiting for a number to be issued to me); and

2. | am not subject to backup withholding because: (a) | am exempt from backup withholding, or (b) | have not been notified by the Internal Revenue
Service (IRS) that | am subject to backup withhoiding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that | am

no longer subject to backup withholding; and

3. lama U.S. citizen or other U.S. person (defined below); and

4. The FATCA code(s) entered on this form (if any) indicating that | am exempt from FATCA reporting is correct.

Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding
because you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage
interest paid, acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and
generally, payments other than interest and dividends, you are not required to sign the certification, but you must provide your correct TIN. See the

instructions on page 3.

Sign Signature of ( ;

Here U.S. person S4}—~_
General Instrucfféns

Section references are to the Internal Revenue Code unless otherwise noted.

Future developments. information about developments affecting Form W-9 (such
as legislation enacted after we release it) is at www.irs.gov/fw9.

 

Purpose of Form

An individual or entity (Form W-9 requester) who is required to file an information
return with the IRS must obtain your correct taxpayer identification number (TIN)
which may be your social security number (SSN), individual taxpayer identification
number (ITIN), adoption taxpayer identification number (ATIN), or employer
identification number (EIN), to report on an information return the amount paid to
you, or other amount reportable on an information return. Examples of information
returns include, but are not limited to, the following:

* Form 1099-INT (interest earned or paid)

* Form 1099-DIV (dividends, including those from stocks or mutual funds)

* Form 1099-MISC (various types of income, prizes, awards, or gross proceeds)

* Form 1099-8 (stock or mutual fund sales and certain other transactions by
brokers)

* Form 1099-S (proceeds from real estate transactions)

* Form 1099-K (merchant card and third party network transactions)

Date > GS-29 - /6é

‘ Form 1098 (home mortgage interest), 1098-E (student loan interest), 1098-T
(tuition)

* Form 1099-C {canceled debt)
* Form 1099-A {acquisition or abandonment of secured property)

Use Form W-9 only if you are a U.S. person (including a resident alien), to
provide your correct TIN,

if you do not return Form W-9 to the requester with a TIN, you might be subject
to backup withholding. See What is backup withholding? on page 2.

By signing the filled-out form, you:

1. Certify that the TIN you are giving Is correct (or you are waiting for a number
to be issued),

2. Certify that you are not subject to backup withholding, or

3. Claim exemption from backup withholding if you are a U.S. exempt payee. If
applicable, you are also certifying that as a U.S. person, your allocable share of
any partnership income from a U.S. trade or business is not subject to the
withholding tax on foreign partners’ share of effectively connected income, and

4. Certify that FATCA code(s) entered on this form (if any) indicating that you are
exempt from the FATCA reporting, is correct. See What is FATCA reporting? on

page 2 for further information.

 

PLAINTIFF’S
EXHIBIT

55

 

Cat. No. 10231X

Form W-Q (Rev, 12-2014)

FTC-SP-002599
FTC-FBA-S1-0012884
PLAINTIFF’S
EXHIBIT 56

 
FBA Stores, LLC

 

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PLAINTIFF’S

Summary of Outside Service Expense By Payee EXHIBIT

From its inception to March 16, 2018
Based on the Transaction Details from its QuickBooks accounting file

Name

CRJ Investment Group
Metropolitan Housing Group, LLC
Timothy Hellbusch

ABCRE, INC.

Robert Schneck

Beacon Learning Group LLC
Good 2 Great LLC

James Leo Dotson

Safari Fulfillment, LLC
Exposure Marketing Company
Richard Alvarez, LLC
Novasors

Back Nine Sales Inc

RHSS Corp

Wilco Management Corp

Rain Makers Worldwide, LLC
Skyler Tolman

Jerry Foster

Trillium Management Group, LLC
ECN Properties, LLC

James Short

Dream Life Investments
Sooner Than Later LLC

Bow Bells Holdings, LLP
Tong Sam, LLC

Carpio Inc.

River City Marketing and Consulting
Upstart Consulting

Trilliant Group, LLC

Pinnacle Achievment

Clay Eschrich LLC

Stephen Cooper

Country Wide Properties LLC
Vanessa Caldera

SC Lamm and Associates, Inc
Marcel Buranek

Brittney S. Price

Jared Gueller

Seviin, LLC

Jake Simpson

56

 

Balance
$ 1,380,557.16
933,836.09
861,305.94
819,480.01
606,862.73
492,380.94
378,966.33
368,314.19
351,972.00
349,047.94
343,199.62
340,492.21
338,846.63
334,404.37
291,895.61
249,703.53
247,775.00
245,149.76
237,362.42
222,649.52
215,602.79
204,352.26
200,000.00
181,297.51
178,121.92
176,465.41
171,603.55
166,276.00
164,150.80
161,942.12
156,836.58
154,894.82
148,459.25
144,555.65
139,925.46
131,887.56
130,786.21
126,740.91
116,304.25
115,237.44

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PLAINTIFF’S
EXHIBIT 57

FTC-SP-002602

 
os.

i
State of Utah

Department of Commerce

R FRANCINE A. GIANI THOMAS A. BRADY DANIEL O'BANNON
G ae HERBERT Executive Director Deputy Director Director, Division of Consumer Protection
‘overnor

 

SPENCER J. COX
Lieutenant Governor

 

PLAINTIFF'S
September 20, 2017 EXHIBIT
57
SELLERS PLAYBOOK
9001 SCIENCE CENTER DR
MINNEAPOLIS MN 55428

RE: BUSINESS OPPORTUNITY
Case Number: 92079

Dear Sir or Madam:

Based on the information provide to the Division of Consumer Protection, it appears that Sellers Playbook meets the
definition of an assisted marketing plan under the Utah Business Opportunity Disclosure Act, Utah Code §13-15-
2(1). Therefore, Elevate Mentoring Group LLC is required to disclosures related to its business opportunity with the

Division and comply with other requirements contained in that statute.

Assisted Marketing Plan means the sale or lease of any products, equipment, supplies, or services that are sold to the
purchaser upon payment of an initial required consideration of $500 or more for the purpose of enabling the purchaser to

start a business, and in which the seller represents:
(iv) that upon payment by the purchaser of a fee or sum of money, which exceeds $500 to the seller, the seller

will provide a sales program or marketing program that will enable the purchaser to derive income from the
assisted marketing plan that exceeds the price paid for the marketing plan.

On at least one occasion, Elevate Mentoring Group, LLC has solicited a consumer to purchase a sales program or
marketing program in exchange for a fee greater than $500, under the direct or implied promise that the program would
enable the consumer to earn more than the amount invested.

Consider this letter a formal demand by the Division to file the disclosures required under Utah Code § 13-15-6.

Please be advised that failure to file disclosures within 15 days after a demand by the Division requires that the Division
commence adjudicative proceedings and issue a cease and desist order. Violation of a cease and desist order from the

Division carries both administrative and civil penalties.

If you feel you are exempt from the registration requirements of the Utah Business Opportunity Disclosure Act, please
respond to this letter with your written explanation within 15 days. The full text of the relevant statute and rule are

available at www.dcp.utah.gov.

Your cooperation in this matter will be appreciated. If you have any questions, contact me at (801) 530-6601 or via
email at apauga@utah.gov.

..
auga-Investigator

UTAH DIVISION OF CONSUMER PROTECTION

UTAH

160 Bast 300 South, Box 146704, Salt Lake City, UT 84114-6704 « telephone (801) 530-6601 + facsimile (801) 580-6001 + www.dcp.utah.gouv ee nw areas

FTC-SP-002603
 

 

PLAINTIFF’S
EXHIBIT 58

 
 

RECEIVED

OCT 18 2017

Serine oh Awa Ton

9001 Science Center Drive, New Hope, MN 55428

Delivered Via US MAIL

 

State of Utah Department of Commerce ‘
Attn: Ao Pauga - Investigator Pre NT ge Ss
160 East 300 South 58

Box 146704

Salt Lake City, Utah

84114-6704

Dear Mr. Pauga,

We are in receipt of your September 20, 2017 letter (the “Letter”) alleging that Sellers
Playbook, Inc.,-a Minnesota corporation (“Sellers Playbook”), is an assisted marketing plan
under Utah law. Because Sellers Playbook does not meet the requirements of an assisted
marketing plan under the Utah Business Opportunity Disclosure Act, it is not required to
register thereunder.

The Letter states that “upon payment by the purchaser of a fee or sum of money, which
exceeds $500 to [Sellers Playbook], [Sellers Playbook] provides a sales program or marketing
program that will enable the purchaser to derive income from the assisted marketing plan that
exceeds the price paid for the marketing plan.” This statement is inapplicable to Sellers
Playbook because the training materials and courses that Sellers Playbook provides do not
enable purchasers to derive income. Sellers Playbook simply offers training on setting up online
individual businesses, not an ongoing platform on which to run a business. To conclude that
Sellers Playbook “enables” purchasers to derive income would place every training program
under the purview of the Utah Business Opportunity Disclosure Act, which would be
unreasonable and contrary to the law’s intent.

More specifically, the statute requires that assisted marketing plans enable purchasers to earn
more money than their initial investment. Sellers Playbook makes no such representations to
the purchasers of its training courses. In fact, on our website located at SellersPlaybook.com,

we expressly state that we make no guarantees about earnings under the Earnings Disclaimer
located on the bottom of the homepage. | have copy/pasted here for your convenience:

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FTC-SP-002605
 

 

EARNINGS DISCLAIMER

Last modified: May 19, 2017

You understand and agree that there are important risk factors that should be considered by
you when deciding whether to purchase any products or services from Sellers Playbook, Inc.

NO EARNINGS PROJECTIONS, PROMISES OR REPRESENTATIONS

You recognize and agree that we have made no implications, warranties, promises, suggestions,
projections, representations or guarantees whatsoever to you about future prospects or
earnings, or that you will earn any money, with respect to your purchase of any of our products
or services, and that we have not authorized any such projection, promise, or representation by
others.

Any earnings or income statements, or any earnings or income examples, are only estimates of
what we think you could earn. There is no assurance you will do as well as stated in any
examples. If you rely upon any figures provided, you must accept the entire risk of not doing as

well as the information provided.

There is no assurance that any prior successes or past results as to earnings or income will
apply, nor can any prior successes be used as an indication of your future success or results
from any of the information, content, or strategies from Sellers Playbook, Inc. Any and all claims
or representations as to income or earnings are not to be considered as “average earnings”.

THE ECONOMY

The economy, both where you do business, and on a national and even worldwide scale,
creates additional uncertainty and economic risk. An economic recession or depression might
negatively affect the results produced by any of our products.

YOUR SUCCESS OR LACK OF IT

Your success in using the information or strategies provided by Sellers Playbook, Inc. depends
on a variety of factors. We have no way of knowing how well you will do, as we do not know
you, your background, your work ethic, your dedication, your motivation, your desire, or your
business skills or practices. Therefore, we do not guarantee or imply that you will have any
earnings at all. Internet businesses and earnings derived therefrom involve unknown risks and
are not suitable for everyone. You may not rely on any information presented on the website or
otherwise provided by us unless you do so with the knowledge and understanding that you can
experience significant losses (including, but not limited to, the loss of any and all monies paid to
purchase any of our products, any monies spent setting up, operating, and/or marketing any of
our products or services, and further, that you may have no earnings at all).

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FTC-SP-002606

 
 

ANY AND ALL FORWARD LOOKING STATEMENTS HERE OR ON ANY MATERIALS ON THE WEBSITE
ARE INTENDED TO EXPRESS OUR OPINION OF EARNINGS POTENTIAL. MANY FACTORS WILL BE
IMPORTANT IN DETERMINING YOUR ACTUAL RESULTS AND NO GUARANTEES ARE MADE THAT
YOU WILL ACHIEVE RESULTS SIMILAR TO OURS OR ANYBODY ELSE, IN FACT, NO GUARANTEES
ARE MADE THAT YOU WILL ACHIEVE ANY RESULTS FROM OUR IDEAS AND TECHNIQUES IN OUR

MATERIAL.

DUE DILIGENCE

You are advised to do your own due diligence when it comes to making business decisions and
should use caution and seek the advice of qualified professionals before making any business
decisions. You should check with your accountant, lawyer, or professional advisor, before acting
on this or any information. You may not consider any examples, documents, or other content
on the Sellers Playbook, Inc. website or otherwise provided by us to be the equivalent of legal
advice. Nothing contained on the website or in materials available for sale or download on the
website provides legal advice in any way. You should consult with your own attorney on any
legal questions you may have.

We assume no responsibility for any losses or damages resulting from your use of any link,
information, or opportunity contained within the website or within any information disclosed
by the owner of this site in any form whatsoever.

TESTIMONIALS, CASE STUDIES & EXAMPLES

Testimonials, case studies, and examples found at this website are exceptional results, do not
reflect the typical purchaser’s experience, don’t apply to the average person and are not
intended to represent or guarantee that anyone will achieve the same or similar results.

Where specific income or earnings figures are used and attributed to a specific individual or
business, that individual or business has earned that amount. There is no assurance that you
will do as well using the same information or strategies. If you rely on the specific income or
earnings figures used, you must accept all of the risks of not doing as well. The described
experiences are atypical. Your financial results are likely to differ from those described in the

testimonials.

if a product or service is new, you understand that it may not have been available for purchase
long enough to provide an accurate earnings history.

Please contact me at matt.tieva@SellersPlaybook.com or GE of you have any further
questions.

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FTC-SP-002607

 
 

 

Thank you,

PAL

Matthew R. Tieva - President

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FTC-SP-002608

 
PLAINTIFF’S
EXHIBIT 59

 

 
10/25/2017 State of Utah Mail - RE: Complaint #92079

Ao Pauga <apauga@utah.gov>

 

 

RE: Complaint #92079

1 message
Matt Tieva <matt.tieva@sellersplaybook.com> Tue, Oct 24, 2017 at 4:48 PM
To: apauga@utah.gov

Ao,

The independent contractor that made those representations was not supposed to make those representations
and will no longer used because you have brought this matter to my attention. Thank you. We are nota
business opportunity nor should any representations have been made otherwise.

We previously ceased selling the program in question in Utah upon receiving your notification of complaint
and will continue to do so.

Again, thank you for bringing this to my attention.

PLAINTIFF’S

Thank you, EXHIBIT

59

Matt Tieva — President

 

Sellers Playbook, Inc.

9001 Science Center Drive
Suite 1000

New Hope, MN 55428

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SELLERS ?L Ay OO K

WINNING ON MAZO

N

 

The information contained in this message and any attachment may be proprietary, confidential, and privileged or subject to the work product
doctrine and thus protected from disclosure. If the reader of this message is not the intended recipient, or an employee or agent responsible for
delivering this message to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this communlcation is
strictly prohibited, If you have received this communication in error, please notify me immediately by replying to this message and deleting it and all

copies and backups thereof.

From: Ao Pauga [mailto:apauga@utah.gov]
Sent: Tuesday, October 24, 2017 10:06 AM
To: maitt.tieva@sellersplaybook.com
Subject: Complaint #92079

https://mail.google.com/mail/u/0/?ui=2&ik=e20493da5e&jsver=Kkobh6whZGg.en.&view=pt&search=inbox&th=1 5f5092b90a57832&siml=15f5092b90a... 1/2

FTC-SP-002610

 
10/25/2017 State of Utah Mail - RE: Complaint #92079
Mr. Tiera,
Thank you for your letter that we received on October 19, 2017.

| have reviewed this complaint and your response and disagreed with your explanation. | spoke with the consumers who
attended the seminar In Salt Lake City on June 14, 2017. They also provided a recording of the presentation and | listened
to the entire recording. The presenter made numerous earnings representations, both directly and indirectly. The presenter
made representations about money, like "100 thousand per month isn't difficult to do in this business" and "another student
made 140 thousands in 3 months." He also mentioned that people could have the same life as him like having multiple
homes, nice cars, boats and a plane. He said that "the majority In this room are going to make large money lots of you are

going to make big money at this.

Based upon the presentation at the seminar and the testimonies by those who attended the seminar, we determined that you
are selling a business opportunity. Therefore, you are required to file disclosures with our office within 15 days or cease

selling the program in Utah immediately.
If you have any questions or concerns, please contact me.
Ao Pauga, Investigator

801-530-6601
801-530-6001 (fax)
apauga@utah.gov

Utah Division of Consumer Protection
160 East 300 South
Sait Lake City UT 84114

The information contained in this electronic mail message is confidential information intended only for the use of the
individual or entity named above and may be privileged. If the reader of this message is not the intended recipient or the
employee or agent responsible to deliver it to the intended recipient, you are hereby notified that any dissemination,
distribution, or copying of this communication is strictly prohibited. If you have received this communication in error, please
immediately notify us by telephone (801) 530-6601 or by replying to this email. Also please delete the original email. Thank

you.

https://mail.google.com/mail/u/0/?ui=2&ik=e20493da5e&jsver=Kkobh6whZGg.en.&view=pt&search=inbox&th=15f5092b90a57832&siml=15{5092b90a... 2/2
FTC-SP-002611

 
 

PLAINTIFF’S
EXHIBIT 60

 

 
6/8/2017 State of Utah Mail - Sellers Playbook

Adam Watson <awatson@utah.gov>

 

 

Sellers Playbook

1 message

Daniel Larsen <dblarsen@utah.gov> Wed, Jun 7, 2017 at 4:30 PM
To: Adam Watson <awatson@utah.gov>

Adam,
This is the site to register for the upcoming seminar: http://thesellersplaybook.com/slcworkshop

A really quick look at google shows the company appears to be headed by Jessie Tieva. She's a former Apprentice
contestant, and has been a presenter for Nudge or Zurixx in the past.

This is a copy of the registration email I received using a dummy account:

|
SELLERS PLAYBO

WINNING ON AMAZON
ae |

 

PLAINTIFF’S
EXHIBIT

60

 

https://mail.google.com/mail/w0/?ui=28ik=695285aced&.view= pt&search=inbox&th= 15c84aef48add5938simi= 15c84aef48add593 1/2
FTC-SP-002613
 

State of Utah Mail - Sellers Playbook

6/8/2017
Danny, you are now listed as attending our upcoming Amazon seminar on Wednesday,
June 14th at 12:30PM.

During this free event you will learn the exact steps for starting your own successful
Amazon store...
Anyone can deo this.
Even if you have very little money.
In fact, the biggest problem new sellers face isn’t money... it’s finding suppliers.
That's why one of the first things we'll share is our process for finding legitimate and
professional suppliers in every niche imaginable.
Once you know how to do this, you’ll be far ahead of other new sellers.
We'll see you at:
Marriott Hotel Downtown at City Creek on Wednesday, June 14th at 12:30PM
75 S. West Temple
Salt Lake City, UT 84101
(801) 531-0800
https://goo.gl/maps/iynRmgGijxt
Mark this on your calendar right now.
You don't want to miss this seminar.
There might not be another one for some time.
To your Amazon success,
Sellers Playbook
P.S. This works great when you do it with a friend! Click HERE to register your guest so
they receive all the information you do.
P.P.S. Something come up? Can't make this time or day? You're in luck, we may have an
opening at another seminar in the near future. Click HERE to reschedule or HERE to
cancel your registration.
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Investigator

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Email: Bal .

 

 

 

THIS AGREEMENT (“Agreement”) is made this day of J U WE 20 / / “Effective Date”), by
and between Sellers Playbook, Inc and the above Individual or organization (“Client”), who are together hereinafter referred to as
the “Parties” or individually as a “Party.” The relationship of the Parties hereto is that of independent contracting Parties.

 

 

 

 

 

 

 

Three Day “Sellers Playbook, Winning on Amazon” Training: sie rist Price
Complimentary Guest: INCLUDED
Bonus PC for attending all 3 days: INCLUDED
Free Sellers Playbook Workbook: INCLUDED
Free Sellers Playbook Basic Membership Site Access: INCLUDED
TODAY ONLY PRICING:

 

 

 

The undersigned each represents that they have the authority to execute this Agreement on behalf of their respective Party.
Acknowledged and agreed as of the Effective Date,

 

 

 

 

CLIENT SELLERS PLAYBOOK, INC.
Authorized Signature: Authorized Signature:
Print Name: Print Name:

Title (if applicable): Title:

 

 

FTC-SP-002619

 
 

 

EXHIBIT A

 

3.

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TERMS AND CONDITIONS
Term, This Agreement shail commence on the Effective Date
Confidentiality. Client and SPI each agree that all information pertaining to the other Party, obtained pursuant to the negotiation or performance of this Ag , shail be ined In strict confid and
shall not be released or disclosed or used for any purpese ether than performance of each Party's dutles, respectively, under this Agreement, except as may otherwise be agreed by the Partles In writing.
Notwithstanding the foregoing, Infarmation shall not be deamed confidential if such information was in the public domain when ived by the tving Party or sub ly enters the public domatn without

fault of the receiving Party. Each Party and its respective affiliates, employees, consultants and agents shall take reasonable steps, by contract, instruction or otherwise, to ensure that anyone having access te the
other Party's confidential information agraes to comply with the terms of this Agreement, ar is put on notice of the proprietary nature of the Confidential Information, and shall not commence any legal action or
proceeding which identifies the Confidential Information without the other Party’s prior written consent, In the event of any inadvertent misusa, loss or disci of Confidential Inf jon, or any lek
another party has obtained the Confidential Information by improper means, the iving Party shail promptly notify the disclosing Party and shall provide full details of the Inadvertent misuse, loss or disclosure or
unauthorized possession, and use reasonable efforts to assist the disclosing Party In preventing the further misuse or reoccurrence of such misuse, lass, disclosure, unauthorized possession or otherwise, and shall
take such steps as the disclosing Party may reasonably request te mintmize damage arising as a result of such violation. Notwithstanding the foregoing, a Party shall not be deemed to have violated the restrictions
set forth in this Section by disclosing confidential Information of the other Party pursuant to a subpoena or other legal requirement of a competent govarnmental authority, so long as It notifies the other Party of
such requirement prior to making such disclosure to allow the other Party a reasonable opportunity to take such steps as It deems appropriate te protect Its confidential information, Each party hereby agrees that
Ifa receiving Party shall violate any provision of this paragraph, the disclosing Party will Incur irreparable harm which may not ba compensable entirely in monetary damages. The Partles therefore agree that
InJunctive reflef to enfo pil with this Agr is an appropriste remedy for breach or a threatened breach of the provisions of this paragraph, notwithstanding the fact that damages may also be
recoverable for breach, and that the disclosing Party shall not be required to prove damages, post bend or meet other conditions of injunctive rallef. Such remedies shall be In addition to and not [n limitation af any
injunctive reltef or any other remedies or rights to which a Party is or may be entitled to at law, In equity or under this Agreement.
SPI Intellectual Property. SPI hereby grants to Client a terminable, non-axclusive, non-transferable right to use SPI’s Intellectual Property during the Term In accordance with the terms of this Agreament. As used
herein, “Intellectual Property” means any and all rights of SP! anywhere In the world under any patent(s), service mark(s}, trademark(s), copyright and trade secret laws, and any other Intellectual property or
proprietary rights, one any moral rights and simflac rights, including without limitation the IT Teolset and any guides, software, books, educational content, videos and other analytle tools relating to retail sales
and cust: data af to SPI's bust Ing servi SPI reserves all rights in the Intellectual Proparty and retains title thereto and all past, present
or future goodwill associated therewith, and does not convey any praprietary rights or other Interest thereln to Client, other than the timited rights granted hereunder. Citent acknowledges that the Intellectual
Property contains Information that has been created, developad and maintained by SPI at substantia] expense of time and money such that misappropriation or unauthorized use by others for commercial gain
would unfalrly and Irreparably harm SPI, and Client therefore agrees not, during or after the Term, to engage In any conduct, directly or Indlrectly, which would Infringe upon, harm or contest the rights of SPI in the
Intellectual Property, or any goodwill associated therewith or attributable thereto, or do or permit to be done any act or thing In derogation of any rights of SPI In connection therewith. Cllerit agrees that It shall not
represent that it has acquired any ownership or equitable rights In the Intellactual Property by virtue of the limited rights granted hereunder, and shall not oppose or challenge in any way any ownership rights of SPI
in, or the registration of or application for, or the vaildity of the Intellectual Property. Neither the Client nor its authorized users and/or affiliates shall have the right te amend, modify, decompile or reverse
engineer the Intellectual Property, or to create derivative works without the prior written consent of SPI.
Warranty; Disclaimer; Limitation of Liability. SP! warrants thst it has the right to provide to the Cliant access to its proprietary tools such as the IT Toolset In accordance with the terms of thls Agreament. SPI does
not warrant that the IT Toolset or its content will be uninterrupted or error-free, secure fram unauthorized access, that defects will be corrected or that SPI's sarvers ara free of viruses or other harmful componants.
SPI relias on third party date and APIs for its 1T Toolsat, and the loss or poor quality of that data shall not entitle the Client to any sort of remedy, SP| makes no other warrantees or guarantees, whether express or
Implied, beyond those specifically and expressly provided for In this Agreement. Excapt to the minimum extent required by applicable law and then only to that extent, In no avent will SPI be liable te Cilent for any
dental, direct, Indirect, punitive, actual, al, special, lary, punitlve or other di as a result of any breach of this Ag including, without | toss of or Income, loss of
profits, paln and suffering, emetional distress, cost of substitute goods or services, or similar damages suffered by Client or any third party that arise in connection with SPl’s Services (or the termination thereof for
any reason). Client further understands and agrees that In no avent shall SPI’s curnulative liability for any claim arising in connaction with this Agreement, regardlass of the form of action, exceed the amount of total
fees and charges actually paid to SPI hereunder.
indemnification. Client hereby agrees to indemnify, defend and hold harmless SPI from and against any and all loss, expenses, d: and costs, including without limi bla attorney’s fees, resulting,
whether directly or indirectly, from: {a) Cliant‘s violation of any provision of this Agreement; (b} claims brought by third parties arising out of Client’s use of the IT Toolset or Services and content Cent makes
available via the IT Toolset or Services by any means, including without limitation through email, posting, weblink, reference to content, or otherwise, whether by Cllent ora third party using Client's password; {e)
any wrongful disclosure of password{s} by any Client employee, agent or representative; or (d) any actual or alleged wrongful, negligent or unauthorized access, modification, disclosure, publication, copying or use of
any IT Tool or wabsite by any Cllant employee, agent or rep Asa condition of Ctient’s uss of the IT Toolsat, Client waives and releases SP! from all liability to Client, and further agrees to Indemnlfy and
hold SPI harmless against any losses, costs or damages Incurred or caused by Client.
Data Release Authorization. Client hereby gives authorization to SPI to release client data toa third party wha needs the Information to assist SP1 In providing the services contemplated herein and to any third-party
client designates by either requesting enhanced services or enters Into an agreement directly with the third party. Client agrees to Indemnify and hold SPI harmless from and agalnst all claims, suits, demands,
actions, procaedings and litigation relating to usage of client’s data after it has been transferred by SPI to a third party. SPI shail take reasonable steps to ensure any third party receiving the cliant data to assist SPI in
providing the services has agreed to keep the cellent duta confidential.
Negotlated Rates. From time to tima, SPI may negotiate with third party service providers, which SPI may offer to Clients. For such servica, SPI’s offer to the Cllant may result In a fae belng pald to SPI if the Cent
enters in to a relationship with the Third-Party Sarvice Providar. This fee belongs to SPI.
Governing Law; Severability. This Agreemant shall be governed by the laws of the State of Minnesota, except its conflict of laws rules. If any provision of this Agreement Is held unenforceable, then such prevision
will ba modified te reflect the Partles' All ig provisions of this Agr shall remain in full force and effect.
Dispute Resolution. Both Parties te this Agreemant waive any and all right to 2 trial by jury. Any dispute or controversy arising under or In connection with this Agreement, Including claims of fraud In the
inducement, shall be settled exclusively by binding arbitration solely by writtan submission in Hennepin County, In the State of Minnesota, in accordance with the expedited Commercial rules of the American

 

 

 

 

Astitration Association than in effect, by one arblerater. Limited civil di y shall be permitted for tha prod ofd and taking of depositions. Unrasolvad discovery disputes may ba brought to the
attention of the arbitrator who may dispose of such dispute. Isgmant may bo entered onthe arbitrators award inary court having uration, The arrator shall have tho aut to award any remedy or
rallef that. court of this state could arder or grant; provided, that pi 7 ages shall net be awarded. fa} Arbol shall p { solely an an Individual basis witheut the

right for any elatms to be arbitrated on a class action busls or an kases tavalving claims brought ina purported teprosentative capacity on behalf of others, “yhe arbityator’s autharity ta resolve and make written
awards ts limited to claims between Client and Sel alone. Claims may not ke jalned or consolidated unless agreed to Tn writing by all parties. No arbitration award ar decision will have any preclusive effact as to
Issttes or claims in any dispute with snyane who Is nota named party to the arbitration. (b) The above notwithetunding, this Section chall have no application to claims by SPI seaking te enforen, by Injunction er other
equitable ralisf, the terms of this Agreement... Such claims may be maintained by SPI in a court of compatant jurisdiction.

Cancelation. To cancel a nol, provide written notification with your signature and date to Sallurs Playbook, ine. at 9001 Sclence Center Drive, Minnoapalls, MN'S5$28, The envelope must be post-marked betore

 

midnight of the third business day efter the ffi date, Saturday is consitered a bumthass day; Simdaya and federal helldays are not. Your Kindle is to ha returned In new, uopennd condition or you will
bp charged $97, ifyou have opened It, you may replace it witha different unopaned Kindle provided it is now and In retail packaging, All return chipping costs are by the Clint,
Si 1, Any prt of this Agr whieh an obi after fon a exph of this Agreement shall survive the termination ar expiration of this Agreement,

 

Mutual Nan-Disparagernent Covenant, Cliont hereby ogres that {t will not, at any tma, dimetly ar indirectly, make any oral of written public statermonts that are dlaparaging of SPI, SPT’s products or services, or
any of SFi’s prozant or formar owners, ore, employees or Independent contractors. SPI (limited to its officers and directars) grees that it will nat, atany time, directly or ‘inedtrectly, take any oral or written public

that are di : jerdgemont shall be defined as any oral ar written public statements that invpugn the qualities, ch mowality, busines or abilitias of
the subject.
Feree Majeure, Neither Party shail be liable for. any delay or failure in performance of any part of this Agrearnont during any peried In which such Party cannot perform due to actions beyand the control of the
Party.
Entire Agreement; Modification. This Agreamant and the Exhibit(s} attached herate- constitute tha entire agreement ketwacn the Parties karate ond de nil priorand and
undertakings of the Partins pertaining to the subject matter hereof. This Agreament may not be modified except by written instrument duly executed by the Party herate against whom the modification ix sought to
be enforced axcept as noted otherwise.
Notice. Allnoticas sent via electronic decumant shall he daemed ta have been given, made, or communicated as the ease may ba, at the time that the notice 4s cent by clectronle document at the eral eddresses oF
the Partles set ferth on the signature page to this Agreenrant,
Execution by Electronic Signature. The Parties expressly agree that scanned documnnts shall have the sams force and offect as original signed decurnents, provided that elthar Party may require the other Party also
to exchange original signed documents,
Headings. Tho sactlon headings contained in this Agreement are for raference purposes only and shail not affect in any way the manning or interprotation of this Agreement.
Walver. SP i's failure to exercise or delay In exercizing any right, powor or privilege under this Agreamant shall not operate ag 3 waiver; nor shall ony singla or partial exercise of any right, power of privilege preciide
any other or further exercise thorocf.
Ascignment. Clant may not assign any of Client's rights er obligations under this Agreement to anyone alse. SP1 may ausign (1s rights te any other Individual or entity at SPI's discratien,

 

FTC-SP-002620

 
 

 

PLAINTIFF’S
EXHIBIT 61

 
 

From: Jessie Tieva <jessietieva@gmail.com>
Sent: Thursday, August 11, 2016 11:08 PM

To: Adam Bowser
Subject: Re: FBA Stores Offer Sheet

Thanks Adam. Great speaking to you today. I'm looking forward to seeing your operation. The website is great
too.

Thanks!

 

Jessie
On Aug 11, 2016, at 8:40 PM, Adam Bowser <abowser! 1 @gmail.com> wrote:
Jessie,

It was a pleasure talking with you today and I hope we can make things work and have you part
of our great team. I've attached a document with all 3 of our coaching offers (Diamond, Platinum
& Gold) that we sell at our 3 days. This details out what they get with each program and should
give you a good idea what we're offering. Feel free to send me any questions you have along the
way. Talk soon.

Costs for each program

Diamond $34995
Platinum $19995
Gold $9995

Adam Bowser

FBA Stores

293 Libbey Pkwy
Weymouth MA 02189
800-554-8495

<FBA Stores 3 Coaching Packages.docx>

PLAINTIFF’S
EXHIBIT

61

 

FTC-SP-002622
 

PLAINTIFF’S
EXHIBIT 62

FTC-SP-002623

 
 

From: Adam Bowser <abowser11@gmail.com>

Sent: Wednesday, August 24, 2016 10:10 AM
To: Jessie Tieva; andria.finau@gmail.com
Subject: Fwd: Email 1 PPT - Day 1 9-1030
Attachments: Day1-9to1030.pptx

wenenennee Forwarded message ----------

From: Tim Hellbuseh <hel!busch.tim@gmail.com>

Date: Thu, Aug 4, 2016 at 10:45 PM

Subject: Email 1 PPT - Day 1 9-1030

To: Adam Bowser <abowserl 1(@gmail.com>, Tim Hellbusch <thellbusch@msn.com>

 

Adam,
The files are big so I broke them down so they would fit. There will be 7 emails.

Tim

Adam Bowser

FBA Stores

293 Libbey Pkwy
Weymouth MA 02189
800-554-8495
www.fbastores.com

PLAINTIFF’S
EXHIBIT

62

 

FTC-SP-002624

 
